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                Exhibit A
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19                                   UNITED STATES DISTRICT COURT

20                               NORTHERN DISTRICT OF CALIFORNIA

21                                      SAN FRANCISCO DIVISION

22   ORACLE AMERICA, INC.                                    Case No. 3:10-cv-03561-WHA
23                      Plaintiff,                           PLAINTIFF’S INTERROGATORIES
                                                             TO DEFENDANT GOOGLE INC.,
24          v.                                               SET ONE
25   GOOGLE, INC.                                            Dept.: Courtroom 9, 19th Floor
                                                             Judge: Honorable William H. Alsup
26                      Defendant.
27

28
     PLAINTIFF ORACLE AMERICA, INC.’S FIRST SET OF INTERROGATORIES
     CASE NO. 3:10-CV-03561-WHA
     pa-1428917
     Case 3:10-cv-03561-WHA Document 922-1 Filed 04/15/12 Page 3 of 4



 1   INTERROGATORY NO. 3:
 2          Please explain the factual and legal bases for Google’s pleading of its first affirmative
 3   defense: No Patent Infringement.
 4   INTERROGATORY NO. 4:
 5          Please explain the factual and legal bases for Google’s pleading of its third affirmative
 6   defense: Patent Unenforceability (Waiver, Estoppel, Laches).
 7   INTERROGATORY NO. 5:
 8          Please explain the factual and legal bases for Google’s pleading of its fourth affirmative
 9   defense: Substantial Non-Infringing Uses (Patent).
10   INTERROGATORY NO. 6:
11          Please explain the factual and legal bases for Google’s pleading of its fifth affirmative
12   defense: Limitation On Patent Damages.
13   INTERROGATORY NO. 7:
14          Please explain the factual and legal bases for Google’s pleading of its sixth affirmative
15   defense: Misuse.
16   INTERROGATORY NO. 8:
17          Please explain the factual and legal bases for Google’s pleading of its eighth affirmative
18   defense: Use By The United States.
19   INTERROGATORY NO. 9:
20          Please explain the factual and legal bases for Google’s pleading of its tenth affirmative
21   defense: Elements Not Protected by Copyright.
22   INTERROGATORY NO. 10:
23          Please explain the factual and legal bases for Google’s pleading of its eleventh affirmative
24   defense: Copyright Unenforceability (Waiver, Estoppel, Laches).
25   INTERROGATORY NO. 11:
26          Please explain the factual and legal bases for Google’s pleading of its twelfth affirmative
27   defense: Fair Use.
28
     PLAINTIFF ORACLE AMERICA, INC.’S FIRST SET OF INTERROGATORIES                                        2
     CASE NO. 3:10-CV-03561-WHA
     pa-1428917
     Case 3:10-cv-03561-WHA Document 922-1 Filed 04/15/12 Page 4 of 4



 1   INTERROGATORY NO. 12:
 2          Please explain the factual and legal bases for Google’s pleading of its fourteenth
 3   affirmative defense: No Intent to Induce Copyright Infringement.
 4   INTERROGATORY NO. 13:
 5          Please explain the factual and legal bases for Google’s pleading of its fifteenth affirmative
 6   defense: Independent Creation.
 7   INTERROGATORY NO. 14:
 8          Please explain the factual and legal bases for Google’s pleading of its sixteenth
 9   affirmative defense: Third Party Liability.
10   INTERROGATORY NO. 15:
11          Please explain the factual and legal bases for Google’s pleading of its seventeenth and
12   eighteenth affirmative defenses: License and Implied License.
13   INTERROGATORY NO. 16:
14          Please explain the factual and legal bases for Google’s pleading of its nineteenth
15   affirmative defense: Unclean Hands.
16

17   Dated: December 2, 2010                        MICHAEL A. JACOBS
                                                    MARC DAVID PETERS
18                                                  MORRISON & FOERSTER LLP
19
                                                    By:     /s/ Marc David Peters
20

21                                                          Attorneys for Plaintiff
                                                            ORACLE AMERICA, INC.
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     PLAINTIFF ORACLE AMERICA, INC.’S FIRST SET OF INTERROGATORIES                                      3
     CASE NO. 3:10-CV-03561-WHA
     pa-1428917
